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     EXHIBIT H
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                 The IEEE Standard Dietionary 0f
                 Eleetrical and Electronics Terms

                                         Sixth Edition


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                                  Jane Radatz, Chain




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                                  ISBN 1-55137-833-b




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     probe address          pro beam    system                                                         821                                                               process     -
                            oro beam system Tunnel lighting system or luminaires having                      procedure (1) (computers) The course of action taken for the
                            ' a light distribution that is greater in the direction of travel.                 solution of a problem.                         (C) t201, tSsl
rol of system elec.                                                       (RL) C136.27-1996                    (2) (nuclear power quality assurance) A document that
ivative of the prq6-        orobe coil A coil (air or magnetic material core) used to sense                    specifies or describes how an activity is to be performed.
s the probability q1
                            ' an altemating magnetic field.                (COM) 102?-1996                                                                           (PE)   t1241
                                                                                                               (3) (A) (software) A course of action to be taken to perform
e of the distributiqn       probe loading The effect of a probe on a network, for example,
        C63. l2_ 1987       ' on a slotted line. the loading represented by a shunt admit-                     a given task. (B) (software) A written description of a course
re of the probability         tance or a discontinuity described by a reflection coefficient.                  of action as in definition "A;" for example, a documented test
presslon glvlng the           See also: measurement system.                         (IM) t40l                  procedure. (C) (software) A portion ol a computer program
-r as a function ofx                                                                                           that is named and that performs a specific action.
                            probe pickup, residual See: residual probe pickup.
probability in an e1-                                                                                                                                     (c) 610.12-r990
                            probing See; linear probing; random probing; uniform probing.                      (4) (software user documentation) Ordered series of instruc-
s unity or 100o/o, 56
sents the proportion        problem See: benchmark problem.                                                    tions that a user follows to do one or more tasks.
                            problem board In an analog computer, a removable frame of                                                                  (C/SE) 1063-1987r
E/T&D)         539-1990       receptacles fbr patch cords and plugs that offers a means for                    (5) (scheme programming language) A parameterized pro-
generating station)           interconnecting the inputs and outputs of computing ele-                         gram fragment, called a subroutine or function in some pro-
he probability of nn          6ents. See also: patch board; patch panel.                                       gramming languages.                    (C/MM) 1178-1990r
of trials.                                                       (C)    165-1977w, 610.10-1994               procedure-oriented language (1) (computers) A program-
    (PE)  352-i975s         problem check (analog computer) One or more tests used to                          ming language designed for the convenient expression of pro-
) (control ofsystern          assist in obtaining the conect machine solution to a problem.                    cedures used in the solution of a wide class of problems.
rnction  of:r whose           Static check consists of one or more tests of computing ele-                                                            (c/MrL)      t2l, t201, t8sl
le is greater than, or         ments, their interconnections, or both, performed under static                  (2) (software)   See   also: procedural language.
bution function is     a       conditions. Dynamic check consists of one or more tests of                                                                    (c) 610.12-1990
'o to unity.                   computing elements, their interconnections,           or both, per-           process (1) (automatic control) The collective functions per-
       c63.12-1984            formed under dynamic conditions. Rate test is a test that ver-                    formed in and by the equipment in which a variable is to be
ver generating sta-           ifies that the time constants of the integrators are those se-                    controlled. Synonym: controlled system.              (PE) t3l
 function that gives          lected. This term also refers to the computer-control state that                  (2) (A) (software) A sequence of steps performed for a given
andrisaparticular             implements the rate test previously described. Dynamic prob-                      purpose; for example, the software development process.
  (PE) 352-i987r              lem check is any dynamic check used to ascertain the correct                      (B) (software) An executable unit managed by an operating
rrobability that   a pa-      performance of some or all of the computer components. See                        system scheduler. See also: jobi task. (C) (software) To per-
alue x. Notes.'   l. The      a/so: computer-control state.                 (C) 165-1917w                       form operations on dara.                     (c) 610.12-1990
zariable ;r is the total    Problem Descriptor System (PDS/MaGen) A programming                                 (3) An address space and one or more threads of control that
h particular random-          language useful in a wide variety of operations research ap-                     execute within that address space, and their required system
he total frequency     of     plications, and designed to facilitate the generation of matri-                  resources.                               (C/PA) 14252-1996
r   I00Vo, so that the        ces and reports for mathematical programming systems.                             (4) A sequence of tasks, actions, or activities, including the
of members bearing                                                         (c) 610.13-1993                     transition criteria for progressing from one to the next, that
or n particular values      problem-oriented language (1) (computers) A programming                            bring about a result.                     (CISE) 1220-1994
:he distribution func-        language designed for the convenient expression of a given                       (5) An address space and the single thread of control that
rf values less than or        class of  problems.               (C/MIL) t2l, t201, t85l                        executes within that address space, and its required system
e second, and so on.          (2) (software) A programming language designed for the so-                       resources. A process is created by another process issuing the
stribution" and, very         lution of a given class of problems. Examples are list pro-                      POSX.I /or,t0 function. The process that issues fork0 is
lenote the probability        cessing languages, information retrieval languages, simula-                      known as the parent process, and the new process created by
,E/T&D) 539-1990              tion languages.               (C) 610.12-1990, 6i0.13-1993                       rhe fork0 is known as the child process. The attributes of
rility of a component       problem state In the operation ofa computer system, a state in                     processes required by POSIX.2 form a subset of those in
 responding when it           which programs other than the supervisory program can ex-                        POSIX.I.                                (CIPA) 994s-2-'1993
Jond as intended/ex-          ecute, Synonyms.' slave state; user state. Contrast: supervisor                  (6) An address space with one or more threads executing
      (PE) 859-1987r          state.                                       (C) 610.12-1990                     within that address space, and the required system resources
rd Probability of fail-     problem variable See; scale factor,                                                for those threads. A process is created by another process
ailures to close/num-                                                                                          issuing the /or*0 function. The process that issues /ortQ is
                            procedural cohesion (software) A type of cohesion in which
      (PE) 859-1987t                                                                                           known as the parent process, and the new process created by
                              the tasks performed by a software module all contribute to a
rd Probability offail-                                                                                         the fork) is known as the child process. Many of the system
                              given program procedure, such as an iteration or decision
lailures to open/num-                                                                                          resources defined by this paft of ISOIEC 9945 are shared
                              ptocess. Contrast; coincidental cohesionl communicational
dex can be calculated                                                                                          among all of the threads within a process. These include the
                              cohesion; functional cohesion; logical cohesion; sequential
er fault and without                                                                                           process ID; the parent process ID; the process group ID; the
      (PE) 859-1987r          cohesion; temporal     cohesion.                 (C)   610.12-1990               session membership; the real, effective and saved-set user ID;
                            procedural language (1) (software) A programming language
rmand ProbabilitY of                                                                                           the real, effective and saved-set group ID; the supplementary
ber of failures to oP-
                              in which the user states a specific set of instructions that the                 group IDs; the current working directory; the root directory;
      (PE) 859-1987r          computer must perform in a given sequence. All widely-used                       the file mode creation mask; and file descriptors.
                              programming languages are of this type. Synonym: ptoce-                                                                (c/PA) 994s-l-1996
rtic value of the fre-
                              dure-oriented language. Contrast: nonprocedural language.                        (7) An address space, and the program (including any Ada
PE/T&D) 539-1990
                              See also: algebraic language; algorithmic language; list pro-
e grid along the ordi-                                                                                         tasks contained within the program) executing within that
                              cessing language; logic programming language.                                    address space, and its required system tesources. A process
on function of a sPec-
'aight line against the                                                     (c) 610.12-1990                    is created by another process with procedures eosrx-
                              (2) A computer language in which the user states a specific
, ruled grids are avail-                                                                                       Process-Primitives. Start-Process, POSIX-process-
                              set of instructions that the computer must perform in a given
 lognormal, and Wei-                                                                                           Primitives.Start-Process-Search, of the function
                              sequence. Examples include BASIC, COBOL, FORTRAN,
PE/T&D) 539-1990                                                                                               POSIX-Unsafe-Process-Primitives. Fork. The process
                              and Pascal. Sy no ny m : procedure-oriented lang uage, C o nt r as t :
trode of small dimen-                                                                                          that issues Start-Process, Start-process-Search, or
                              nonprocedural language.                       (C) 610.13-1993                    irork is known as the parent process, and the newly created
hat is placed in a gas
lee also: discharge.        Procedural programming language (software unit testing) A                          process is the child   process.        (C/PA) 1003.5-1992
     (ED)                     computer programming language used to express the se-                            (8) An address space, a single thread of control that executes
             t451, t84l
                              quence of operations to be performed by a computer (for ex-                      within that address space, and its required system resources.
rat is known when the
                              ample, COBOL). See also:nonprocedural programming lan-                           On a system that implements threads, a process is redefined
ution.
 (BAlc)        r27s-1994
                              guage.                                    (C/SE) 1008-1987r                      to consist of an address space with one or more threads ex-
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                                                                                                                                            process
                                                                                    822
      Process

                                                    required system                        process in the group leaves the grouP, due either to
        ecuting within that address space and their                                        of the last process 's process lifetime or to the last
        ."rouri"r. Note: Theterm process is used in contrast to "sys-                      process calling the setsld0 or setpgid0 functions.
        i;;;;";.t," or the OSI usage of the term "application pro-                                                                  (c/PA) 99as-1
        cess."
                                                                  re*' tiilr';!?li;         (2) A period of time that begins when a       Process
                         (c lP   A)   1224.2-   tse3,   1326.2-
                                                                                            created and ends when the last remaining Process in
                                                                                            leaves the grouP, due either to the end
                                                                                                                                     of the Process
        (9) An organized set of activities performed for a given pur-
                  -xampte,                                                                  of the last Process or to the last remaining Process
        pose; for           the software development Procell'- ."
                                             (c/sE) J-SrD-016-199s                           Set-Proce s s-Group-ID procedure.
                                                                                                                      (c/PA) 1003.5- 1992,1003.5b_
        (10) A unit of activity characterized by a single. sequential
                                                                 set of                   process ID (1) The unique identifl er representing a process,
        ifr."ua of execution, a current state, and an associated                             process ID is a positive integer that can be contained
                       resources.           (C/MM) 855-1990
         system
                                 process. (C/PA) 1003'5b-1995                                pid-t. A process ID shall not be reused bY the system
          fit,Sr" a/so: POSIX
                                                   in the software life                      the process iifetime ends. In addition,
                                                                                                                                     if there exists a
       Process A function that must be performed                                             group whose Process group ID is equal to that procesS
         cycle. A Process is composed  of Activities'                                                                                    the sYstem rntil
                                                         (c/sE) 1074-1995                    the process ID shall not be reused by
                                                                                             process group lifetime ends. A process that
                                                                                                                                              is not a system
       processable scored card            scored card including at least one
                                          A
                                                                                              process shall not have a process ID of I
       "' ."p"."Uf"      pu" that can be processed after separation'-See also:                                          (c/PA) 9945-1- 1996, 9945_2_ t993
                      card'                                         (c)   610'10-1994
         stub
                                                   Language                                  (2) A unique value identifYing a Process 6uring its lifetirnq
       P.oc"ss arra Experiment Automation Realtime                                           The process ID is defined in the package Posrx-Process-
         (PEARL)           A general-purpose, high-order language. designed                  Identification' A Process lD shall not be reused by the
         io meet the       re[uirements of real-time programmln€ ln-process                                                          In addition, if there
                                                   (C) 610'13-1993                           system until the Process lifetime ends.
         *i'"-p"J."i, automation'                                                            exists a Process group where the process
                                                                                                                                          ID of the
                                                    manages the im-
       Process irchitect The person or group that                                            group leader is equal to that Process ID, that
                                                                                                                                            process
         plementation of the Standard in an organizatio                                      not be reused bY the system until the
                                                                                                                                     process grouP lifeting
                                               (c/sE) 1074'1-1995                                                                     a value of process.lD
                                                                                             ends. An imPlementation shall resewe
       nrocess bound See: comPute-bound'                                                                 system              A process  that is not a system
                                                                                             for use bY         Processes'
       il"..rt   .".i..r (I ) (eleciric pipe heating systems) The,u'se of                    process shall not have this Process ID.
       "'"t""i" pipe treaiing systems io increase or maintain' or both'                                               (c/PA) 1003.5-1992' l003.sb-1995
                                                                   piping
          itr" i"rni"*,u." ot*nuiot (or processes.;. in mechanical                         processing See: data processing; information
                                                                                                                                            processing; mul'
          systems including pipes, pumps, tanks'
                                                    instrumentatton m nu-
                                                        (PE) 622A-1984t                      tiprocessing; parallel processtng'
          ;i;;;;"*". g"nJating siations'                                                   nrocessing cycie A single, complete
                                                                                                                                  execution of data proc$s-
             ai-i";i;#"     contr6l) control imposed upon phvsical or                      ' ing tftut"it p"riodicaily repeated' Synonym: data processing
           iLrni*l changes in a material' See also: control system'                                  St" o/so: annual cycle; daily cycle; monthly-cycle;
             feedback.                                           GE) t3l                     "fai.                                           (C) 610'2-i98?
                                                 The use of electric heat                     weekly cycle.
             iiji.i""itr"  heat tracing systems)                                                                                              of one or more
                                                                                           processing unit A functional unit that consists
             i.u"ing ty.tt*. to increase or maintain' or both' the
                                                                   temper-
                                                           piping systems
                                                                                           "';;;;;t;;.. and their storage ' see also: centrai processing unit'
             ature if fluids (or processes) in mechanical                                                                                  (c) 610.10-i994
                                                                       etc'
             including pipes, pumps, valves, tanks' instrumentation'
             i"-pt*"ig.."t^,ing.iuiiont'               (PE) 6228-1988r
                                   in which a computer is used to regulate
             tiieo,o.tiuti".ontiol                                military
             iontinuous operations such as chemical processes'
             ;il;;t,     oi manufacturing operations' see.a/so: numerical
           control'                                       (c) 6102-1987
                             (automatic    control) Apparatus with which
         t'piv"J
         oroc"ss
                 "quipment       changes in a material are produced' Syn-
                    "i"ttemical       -                          (PE) t3l
            onym: planr.
         pt;;;;; fi;p     A collection  of processes thai  q:rmits.th:
         ' naling"of related processes' Each process in the system ::c:rs a
                 *"rn6". of a process group that is identified by a
                                                                                process
                                                                           of
                 gi""p ro' A newly created irocess joins the process group
                 its creator
                           (c/PA)      1003.5 -   rgg2, 003.5b- 1995, 9945-r-1996,
                                                         1
                                                                       q945'2-t993

         Drocess qroup         ID (l) The unique identifier representing a proc-
         '           sr6uo during its lifetime A process group lD ls
                                                                         a posltlve
                 "ss                  contained in a pid-t' It shall not be reused
                 i"lE".i'n"i
                         -J-'-""""re
                     "'- tn.,"rn
                 "J tfi"
                 Uu              until the process group lifetime ends'- ^ -.
                                                (c/PAt       9945-1'1996'9945'2-t9e3
                                                                  its life-
            (2) A unique value identifying a process group during
            ii*". a pio."tt group ID shall not be reused by the system
            until the process group lifetime ends'
                              " ' (c/PA)      1003'5-t992' 1003'5b-1995
          process group leader (1) A process whose process ID
                                                                    is the
                                             lD'
                 same as its Process grouP- (clpel ss4s-t't996' 9945-2,te93
                                                                        of
                  (2) A process whose process ID matches the process ID
                                                                   process group'
                  itt" p.o"".t group leader for all members of the
                                                                   (c/PA)    1003.5-1992
                  (3) The unique process, within a process group'-that created
                  the process    group.                           (C/PA)
                                                                    when
                                                                            1003'5b-1995
             o.o"uJ, n.ouilifeiime (1) A period of time that begins
             '    u   pro.Is gioup     is created and ends when the last remalnlng
